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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

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                                   7     UNITED STATES OF AMERICA,                         Case No. 19-cr-00621-EMC-1
                                   8                    Plaintiff,
                                                                                           ORDER GRANTING IN PART AND
                                   9             v.                                        DENYING IN PART DEFENDANT
                                                                                           ABOUAMMO’S MOTION TO
                                  10     AHMAD ABOUAMMO,                                   SUPPRESS
                                  11                    Defendant.                         Docket No. 117
                                  12
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 United States District Court




                                  13

                                  14          Defendant Ahmad Abouammo has moved to suppress evidence obtained via searches and
                                  15   seizures on August 17, 2016 and October 23, 2018 pursuant to two search warrants issued by
                                  16   magistrate judges of this Court. Having considered the briefs and supporting materials and
                                  17   argument of counsel, the Court GRANTS the motion with respect to the 2016 search but DENIES
                                  18   the motion with respect to the 2018 search.
                                  19          Even assuming a deferential scope of review of the magistrate judge’s determination, see
                                  20   United States v. Wright, 215 F.3d 1020, 1025 (9th Cir. 2000), it is clear there was no probable
                                  21   cause to support the 2016 search. While there was probable cause to believe Defendant Ali
                                  22   Alzabarah accessed Twitter user information without authorization and that it was done at the
                                  23   behest of Foreign Official-1, there was no such probable cause with respect to Defendant
                                  24   Abouammo. The critical paragraphs of the affidavit in support of the 2016 search warrant
                                  25   application – Paragraphs 69 – 78 which focus on Defendant Abouammo, merely documents his
                                  26   communications with Twitter Employee-1, Defendants Alzabarah and Ahmed Almutairi, and
                                  27   Foreign Official-1 at various times in 2014, 2015, and 2016. There is no allegation that Defendant
                                  28   Abouammo, a U.S. citizen born in Egypt with no personal ties to Saudi Arabia, obtained
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                                   1   unauthorized access to Twitter users, much less at the behest of the Saudi government. The

                                   2   circumstantial evidence of communications reveal little more than sporadic unremarkable

                                   3   communications with these subjects which does not fit any pattern with the illicit conduct of

                                   4   Defendant Alzabarah or Official-1.

                                   5          Defendant Abouammo’s contact with Twitter Employee-1, an Irish citizen, in the form of a

                                   6   single email on April 22, 2015, several emails in January and February 2016, and being reciprocal

                                   7   followers on Defendant Abouammo and Defendant Alzabarah prove nothing. There is nothing

                                   8   about the content of tweets that were suggestive on clandestine conduct. Nor is there anything

                                   9   remarkable about the timing of the email exchanges relative to the illegal conduct of Defendant

                                  10   Alzabarah as described in the affidavit. Defendant Alzabarah was confronted by Twitter on

                                  11   December 2, 2015 about his unauthorized access to user accounts and fled the United States on

                                  12   December 3. There was no alleged communication between Defendant Abouammo and Twitter
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                                  13   Employee-1 at that time. Moreover, although Twitter Employee-1 was confronted by Twitter

                                  14   about accessing Twitter use accounts without authorization, Twitter determined that he did in fact

                                  15   have a legitimate busines reason for accessing those accounts. Indeed Twitter Employee-1 was

                                  16   promoted by Twitter in 2016.

                                  17          Other than being reciprocal Twitter followers, there is no evidence of any communication

                                  18   between Defendant Abouammo and Defendant Alzabarah. Similarly, there is little

                                  19   communication between Defendant Abouammo and Defendant Almutairi cited in the affidavit –

                                  20   i.e., two text messages in December 2014 prior to the alleged unlawful conduct of Defendant

                                  21   Alzabarah which started in January 2015.

                                  22          As to Defendant Abouammo’s communication with Foreign Offical-1, there were calls

                                  23   between them in June 2014, in January 2015, on December 11, 2015 and an exchange of emails in

                                  24   January 2015 and September 2015. Notably, most of these communications were prior to the

                                  25   putative grand meeting in Washington, D.C. in May 2015 between Official-1, Defendant

                                  26   Alzabarah, Defendant Almutairi and Associate-1 – a meeting which did not include Defendant

                                  27   Abouammo. With the exception of the call between Defendant Abouammo and Official-1 on

                                  28   December 11 – 8 days after Defendant Alzabarah fled the U.S. upon being confronted by Twitter,
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                                   1   there is nothing remarkable about the timing of the emails or calls relative to the conduct of

                                   2   Defendant Alzabarah.

                                   3          Defendant Abouammo’s emails to other senior Twitter directors who were located in other

                                   4   countries (outside the U.S. and Saudi Arabia) in December 2015 and January and February 2016

                                   5   also prove nothing. There is no allegation that these directors were involved in any unauthorized

                                   6   access to use accounts or were connected with Official-1 or the Saudi government. Furthermore,

                                   7   the emails were sent to these directors’ Twitter email accounts, hardly a way to solicit

                                   8   participation in an illicit scheme as the government now suggests. That certain Saudi officials

                                   9   (other than Official-1) were brought into conversations in email exchanges with one of the Twitter

                                  10   directors again proves nothing.

                                  11          The sporadic patternless communications described in the affidavit – which include no

                                  12   direct communications with Defendant Alzabarah and two early (2014) text messages with
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                                  13   Defendant Almutairi – are insufficient to establish probable cause to believe Defendant

                                  14   Abouammo had accessed without authorization Twitter user accounts at the behest of the Saudi

                                  15   government. United States v. Seybold, 726 F.2d 502 (9th Cir. 1983) cited by the government does

                                  16   not compel a contrary result. There, the defendant’s phone numbers were found in the personal

                                  17   address books of two person who were also indicted with him for distribution of

                                  18   methamphetamine and were previously arrested; there were six instances in which address books

                                  19   seized from other conspirators contained the names and numbers of other co-conspirators, a

                                  20   common phenomenon according to a DEA intelligence analyst, and there was fairly detailed

                                  21   factual allegations about Seybold’s actions in furtherance of the conspiracy. Id. at 504-505. The

                                  22   evidence of common contacts was thus probative and supported by independent evidence of the

                                  23   defendant’s acts in furtherance of the conspiracy. This was for more probative of the defendant’s

                                  24   illicit conduct than the catalogue of sporadic contacts with allege participants asserted here.

                                  25          Further, in view of the lack of probable cause on the face of the affidavit, the government

                                  26   has failed to carry its burden of establishing applicability of the good faith exception. United

                                  27   States v. Underwood, 725 F.3d 1076, 1085 (9th Cir. 2013). Defendant Abouammo’s motion to

                                  28   suppress the evidence obtained from that search warrant is therefore granted.
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                                   1            However, even without the fruits of the 2016 search, there were enough facts to support

                                   2   probable cause for the 2018 search warrant. Defendant Abouammo does not dispute the following

                                   3   facts submitted in support of that warrant were not derived from the 2016 search:

                                   4                   1)     Defendant had access to a tool that allowed him to view
                                                              Twitter account data, Sept. 2018, 2018 search warrant
                                   5                          (“SW”) ¶ 28;
                                   6                   2)     Foreign Official-1 was particularly interested in the Twitter
                                                              User-1 account, which was critical of the Saudi government
                                   7                          and Royal Family, id. ¶¶ 39,55;
                                   8                   3)     Defendant and Foreign Official-1 met in London in
                                                              December 2014, id. ¶ 37;
                                   9
                                                       4)     Shortly after the London meeting, Defendant accessed the
                                  10                          Twitter User-1 account multiple times between January 5,
                                                              2015, and February 24, 2015, and was in frequent telephonic
                                  11                          contact with Foreign Official-1, id. ¶¶ 39-41;
                                  12                   5)     Alzabarah also accessed the Twitter User-1 account multiple
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                                                              times, id. ¶ 55;
                                  13
                                                       6)     Foreign Official-1 sent information to Defendant that was
                                  14                          marked urgent, secret and private and concerned another
                                                              “Twitter User-2” that was also critical of the Saudi
                                  15                          government and Royal Family, id. ¶ 42.
                                  16   These facts establish probable cause for the 2018 search warrant.

                                  17            Moreover, for the reasons argued by the government, the search warrant did not rest on

                                  18   stale information. And although it would have been preferable for the warrant to expressly limit

                                  19   the search of devices to those which appeared to be owned, possessed or accessible to Defendant

                                  20   Abouammo, in light of the circumstances of the household, it was reasonably specific given “the

                                  21   circumstances of the case and the type of items involved.” United States v. Rude, 88 F.3d 1538,

                                  22   1551 (9th Cir. 1996). Even if the warrant’s description of the items to be search was overbroad,

                                  23   severance would be appropriate here where “the lion’s share of the [warrant] did not violate the

                                  24   Fourth Amendment.” United States v. SDI Future Health, Inc., 568 F.3d 684, 797 (9th Cir. 2009).

                                  25   Accordingly, the motion to suppress the evidence obtained from the 2018 search is denied.

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                                   1          As noted at the hearing, this raises the question whether the evidence from the 2016

                                   2   suppressed herein would otherwise have been discovered. The parties shall cross-file

                                   3   supplemental briefs limited to seven (7) pages each on this issue by June 21, 2021.

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                                   5          IT IS SO ORDERED.

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                                   7   Dated: June 15, 2021

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                                                                                        EDWARD M. CHEN
                                  10                                                    United States District Judge
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